                                                                              U.S. DISTRICT COURT
      Case 4:11-cr-00151-A Document 107 Filed 08/29/18                    Page 1 of 5DISTRICT
                                                                          NORTHERN     PageIDOF
                                                                                              512
                                                                                                TEXAS
                                                                                      FILED
                       IN THE UNITED STATES DISTRIC COU T
                            NORTHERN DISTRICT OF TEX S         AUG 2 9 2018
                                FORT WORTH DIVISION
                                                       CL ~RK, U.S. DISTRICT COURT
                                                                             8
UNITED STATES OF AMERICA                           §
                                                                                        Deputy
                                                   §
vs.                                                §    NO. 4:11-CR-151-A
                                                   §
CRYSTAL MASON-HOBBS                                §



                                                ORDER

        On August 29, 2018, defendant, Crystal Mason-Hobbs,

electronically filed an emergency motion to continue the

revocation hearing scheduled for August 30, 2018. Doc. 1 105. As

defendant well knows, the undersigned does not accept electronic

filings. Doc. 2. Moreover, the motion does not contain a

certificate of conference and would be stricken in any event.

Local Criminal Rule 47.l(b). The court finds that the motion

should be stricken from the record and unfiled.

        The court ORDERS that defendant's emergency motion to

continue be, and is hereby, stricken from the record and unfiled.

        The court further ORDERS that the revocation hearing set for

August 30, 2018, will go forward at the scheduled time in the

Fourth Floor Courtroom of the United States Courthouse, Fort




        'The "Doc.   "reference is to the number of the item on the docket in this action.
    Case 4:11-cr-00151-A Document 107 Filed 08/29/18                     Page 2 of 5 PageID 513


Worth, Texas, at which time, date, and place defendant, her

counsel', and counsel for the government shall be present.

        SIGNED August 29, 2018.




        2
         The court notes that defendant is represented by two attorneys. The cowt will excuse lead
counsel from appearing if she continues to be unable to be present.

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                            UNITED STATES DISTRIC
                             NORTHERN DISTRICT OF TEXAS
                                                       T                        I
                                FORT WORTH DIVISION

UNITED STATES OF AMERICA                        §
                                                §
v.                                              §           NO. 4:11-CR-151-A(Ol)
                                                §
CRYSTAL MASON-HOBBS                             §


                           EMERGENCY MOTION TO CONTINUE

       CRYSTAL MASON-HOBBS, through undersigned counsel, respectfully requests that this

Honorable Court stay the hearing on revocation of supervised release currently scheduled for

August 30, 2018, due to Lead Counsel having been hospitalized today, August 29, 2018.

       Secondary Counsel just joined the case less than a week ago. Counsel's role was secondary

and to assist Lead Counsel. Given that this case involves a fundamental liberty interest,

undersigned Counsel respectfully requests at least ten (10) days to prepare to proceed in the

absence of Lead Counsel.

       WHEREFORE, for all the foregoing reasons, and for any other reasons this Court may

deem just and proper, Crystal Mason-Hobbs, through undersigned counsel, respectfully requests

that this Cowt continues the hearing scheduled on August 30, 2018 for at least l 0 days.

                                                            Respectfully submitted,

                                                            Isl Alison Grinter
                                                            Alison Grinter
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                                                            Isl Kim T. Cole
                                                            Kim T. Cole
                                                            Texas State Bar No. 24071024
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                                                            ATTORNEYS FOR DEFENDANT




                                CERTIFICATE OF SERVICE

       l certify that on the 29th day of August, 2018, a copy of the foregoing was provided to all

parties in accordance with the Federal Rules of Civil Procedure.

                                                                   /s/Kim T. Cole

                                                                   /s/ Alison Grinter
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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


UNITED STATES OF AMERICA                      §
                                              §
v.                                            §          NO. 4:11-CR-151-A(Ol)
                                              §
CRYSTAL MASON-HOBBS                           §

                                          ORDER

         Upon consideration of Crystal Mason-Hobbs' Emergency Motion to Continue the hearing

on Revocation of Supervised Release, and the Court having reviewed the facts and legal issues

surrounding said motion, this Court hereby GRANTS/DENIES said motion. It is further

ORDERED that the revocation hearing in this matter is continued until _ _ _ _ day of

_ _ _ _ _ _ _ _, 2018 at 2:00PM.




SIGNED this _ _ _ _ day of _ _ _ _ _ _ _ _ _ , 2018.




                                                  THE HONORABLE JOHN MCBRYDE
                                                  U.S. DISTRICT JUDGE
